Case 1:17-cv-00589-ACK-WRP Document 1 Filed 12/13/17 Page 1 of 9   PageID #: 1



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Attorneys for Plaintiff
JOVIELLE MAE CALMA


                  IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAII


JOVIELLE MAE CALMA,           )       CIVIL NO. CV _________________
                              )       (Other Personal Injury Tort)
               Plaintiff,     )
                              )
                              )       COMPLAINT
          vs.                 )
                              )
                              )
CITY AND COUNTY OF HONOLULU, )
a municipal corporation       )
organized and existing under )
the laws of the State of      )
Hawaii,                       )
                              )
               Defendant.     )
                              )
                              )
_____________________________ )

                                 COMPLAINT

      COMES NOW Plaintiff JOVIELLE MAE CALMA, by and through her

attorneys, Shim & Chang, and for causes of action against the

Defendant above-named alleges and avers as follows:
Case 1:17-cv-00589-ACK-WRP Document 1 Filed 12/13/17 Page 2 of 9   PageID #: 2



                                THE PARTIES

        1.   Plaintiff JOVIELLE MAE CALMA (hereinafter, “Plaintiff”

or “Plaintiff Calma”) was at all times pertinent herein a

resident of the City of Vancouver, British Columbia, Canada.             At

the time of her injury, Plaintiff Calma was a tourist, visiting

the City and County of Honolulu, State of Hawaii.

        2.   Defendant CITY AND COUNTY OF HONOLULU (hereinafter

“Defendant City”) is a municipal corporation organized and

existing under the laws of the State of Hawaii with its

principle place of business in the City and County of Honolulu,

State of Hawaii, United States of America.

                        STATEMENT OF JURISDICTION

        3.   This lawsuit is brought under diversity jurisdiction.

The Plaintiff Calma is a citizen of Canada.         Defendant City is a

municipal corporation organized and existing under the laws of

the State of Hawaii.      The parties are citizens of different

countries.     The amount in controversy, without interest and

costs, exceeds the sum or value specified by 28 U.S.C. Sec.

1332.

                        STATEMENT OF CLAIM

        4.   Defendant City owns, maintains, and operates its Ala

Moana Regional Park (“Ala Moana Park”).

        5.   Defendant City plants, maintains, inspects, prunes,

and removes various trees throughout its Ala Moana Park.

                                     2
Case 1:17-cv-00589-ACK-WRP Document 1 Filed 12/13/17 Page 3 of 9   PageID #: 3



      6.    In addition, Defendant has located, built, and

maintained a bus stop shelter on the Ala Moana Boulevard side of

its Ala Moana Park, for the public to use while waiting for

TheBus and as a shelter during inclement weather.

      7.    Defendant City chose to locate this bus stop shelter

next to a large, tall, yellow Poinciana (“Poinciana”) tree.

      8.    Defendant City knew or should have known that

Poinciana trees have large trunks and shallow surface roots.

      9.    Defendant City knew or should have known that the area

of Ala Moana Park where this Poinciana tree was planted was a

shallow landfill over a coral bed.

      10.   Defendant City knew or should have known that

Poinciana trees are susceptible to uprooting during strong

winds.

      11.   Defendant City knew or should have known that

Poinciana trees require proper pruning prior to storms so as to

reduce the risk of uprooting by strong winds.

      12.   As owner of the Ala Moana Park, the trees planted in

the park, and TheBus stop shelter located in the park, Defendant

City owed legal duties and standards of care to anyone using

this bus stop shelter, which included the following:

            (a)   Defendant City must provide a bus stop shelter

that’s safe for bus riders to use;



                                     3
Case 1:17-cv-00589-ACK-WRP Document 1 Filed 12/13/17 Page 4 of 9   PageID #: 4



            (b)   Defendant City must protect users of its Ala

Moana Park bus stop shelter from foreseeable injury risks;

            (c)   Defendant City must take all appropriate,

necessary, and adequate safety measures to prevent a foreseeable

injury to users of its Ala Moana Park bus stop shelter;

            (d)   Defendant City must not locate its Ala Moana Park

bus stop shelter where a tree or tree branch could foreseeably

fall onto it and potentially injure users of the shelter;

            (e)   Defendant City must not locate its Ala Moana Park

bus stop shelter next to trees which are likely to uproot during

windy conditions because of shallow soil and shallow root

conditions;

            (f)   Defendant City must remove any trees which

because of its size, nature, species, and/or condition, makes it

likely to fall onto its Ala Moana Park bus stop shelter during

windy conditions;

            (g)   Defendant City must conduct yearly inspections of

the trees growing next to its Ala Moana Park bus stop shelter;

            (h)   Defendant City must inspect for conditions that

could cause a tree branch to break or the tree to uproot during

windy conditions and fall onto its Ala Moana Park bus stop

shelter;

            (i)   Defendant City must prune any tree or remove any

tree branch, prior to hurricane season, that could potentially

                                     4
Case 1:17-cv-00589-ACK-WRP Document 1 Filed 12/13/17 Page 5 of 9   PageID #: 5



uproot or break off during windy conditions and fall onto its

Ala Moana Park bus stop shelter;

            (j)   Defendant City must not locate its Ala Moana Park

bus stop shelter next to a large, tall, yellow Poinciana tree

which is known to have shallow roots and which had been planted

in shallow soil;

            (k)   Defendant City must trim and/or prune the canopy

of it’s yellow Poinciana tree prior to hurricane season to

prevent the creation of a “sail effect” during windy conditions;

            (l)   Defendant City warranted a safe bus stop shelter

for its bus riders to use;

            (m)   Defendant City is not allowed to create or allow

to exist a tree nuisance that could potentially cause injury to

users of its Ala Moana Park bus shop shelter;

            (n)   Defendant City must comply with all applicable

tree inspection, trimming, pruning, and removal safety

standards, standards of care, and safety rules;

            (o)   Defendant City must never needlessly cause injury

to users of its Ala Moana Park bus stop shelter; and

            (p)   Given a choice, Defendant City must always choose

the safest course of action to prevent injury to users of its

Ala Moana Park bust stop shelter.

      13.   Defendant City created a dangerous and potential

hazardous condition when it chose to locate its Ala Moana Park

                                     5
Case 1:17-cv-00589-ACK-WRP Document 1 Filed 12/13/17 Page 6 of 9   PageID #: 6



bus shop shelter next to a tall, large, yellow Poinciana tree

that had been planted in shallow soil.

      14.   Defendant City created a dangerous and potentially

hazardous condition when it chose not to trim, prune, or remove,

prior to hurricane season, the large, tall, yellow Poinciana

tree that was growing next to its Ala Moana Park bus stop

shelter.

      15.   Defendant City chose not to prune the tall, large,

yellow Poinciana tree that was more than likely to fall onto its

Ala Moana Park bus stop shelter during windy conditions and

potentially injure someone using the shelter.

      16.   Defendant City chose not to remove the tall, large,

yellow Poinciana tree that was more than likely to fall onto its

Ala Moana Park bus stop shelter and potentially injure someone

waiting in the shelter.

      17.   Defendant City breached legal duties, standards of

care, safety rules, and/or warranties, and was negligent, acted

in a negligent manner, and/or created a public nuisance.

      18.   As a result of Defendant City’s negligence and/or

creation of a public nuisance, a dangerous condition was created

for users of Defendant City’s Ala Moana Park bus stop shelter.

      19.   On the evening of Monday, October 23, 2017, Plaintiff

Calma went shopping with friends at Ala Moana Shopping Center.



                                     6
Case 1:17-cv-00589-ACK-WRP Document 1 Filed 12/13/17 Page 7 of 9   PageID #: 7



      20.   After shopping, Plaintiff Calma and her friends walked

across Ala Moana Boulevard to the Ala Moana Park, and sat in

Defendant City’s bus stop shelter to keep out of the rain, while

waiting to catch TheBus back to their hotel in Waikiki.

      21.   At around 8:20 p.m., Defendant City’s yellow Poinciana

tree is “uplifted” by the wind and crashes onto Defendant City’s

Ala Moana Park bus stop shelter, collapsing its roof and support

column.

      22.   The shelter’s heavy concrete column falls onto

Plaintiff Calma’s legs, breaking both of them.

      23.   Plaintiff Calma suffers significant and permanent

bodily injuries, as well as serious mental anguish and emotional

distress.

      24.   Defendant City is vicariously liable for the acts

and/or omission of its employees, agents, contractors,

subcontractors, and any other entity that created and/or caused

to exist this dangerous condition at Defendant City’s Ala Moana

bus stop shelter.

      25.   The actions, inactions, and/or negligent choices of

Defendant City were a factual and/or legal (more than a trivial)

cause of Plaintiff Calma’s injuries, losses and damages.

      26.   Plaintiff Calma has sustained and will further sustain

special and economic damages in an amount to be determined at

trial.

                                     7
Case 1:17-cv-00589-ACK-WRP Document 1 Filed 12/13/17 Page 8 of 9   PageID #: 8



        27.   Plaintiff Calma has sustained and will further sustain

general and non-economic damages in an amount to be determined

at trial.

        28.   The injuries to Plaintiff Calma occurred in the City

and County of Honolulu, State of Hawaii.

        29.   The total amount of all damages incurred by or on

behalf of Plaintiff Calma is in excess of the minimum

jurisdictional requirements of the Court under 28 U.S.C. Sec.

1332.

                        DEMAND FOR RELIEF

        Plaintiff demands judgment against Defendant City as

follows:

        a.    General and non-economic damages as are proven at the

time of trial.

        b.    Special and economic damages as are proven at the time

of trial.

        c.    All other applicable statutory and/or common law

damages.

        d.    Reasonable attorneys’ fees and litigation costs.

        e.    Such other relief as may be deemed just and equitable

under the premises.




                                     8
Case 1:17-cv-00589-ACK-WRP Document 1 Filed 12/13/17 Page 9 of 9   PageID #: 9



            DATED:   Honolulu, Hawaii,       December 13, 2017       .

                                   /s/ Harvey M. Demetrakopoulos
                                   _____________________________
                                   ROY K. S. CHANG
                                   HARVEY M. DEMETRAKOPOULOS




                                     9
